 Case 1:17-cv-01031-PLM-PJG ECF No. 21 filed 04/02/18 PageID.75 Page 1 of 1



                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF MICHIGAN
                                  SOUTHERN DIVISION


 FEW SPIRITS, LLC

                Plaintiff,
        v.                                            Case No. 1:17-cv-01031

 GRAY SKIES DISTILLERY, LLC                           Hon. Paul L. Maloney

                Defendants.


                               STIPULATION OF DISMISSAL

       IT IS HEREBY STIPULATED AND AGREED, by and between the undersigned

counsel for Plaintiff, FEW Spirits, LLC, and Defendant, Gray Skies Distillery, LLC, and

pursuant to Rule 41(a)(1)(A)(ii) of the Federal Rules of Civil Procedure, that this action is

dismissed in its entirety without prejudice, with each party bearing its own fees and cost.


Dated April 2, 2018                           Respectfully submitted,

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